                 IN THE DISTRICT COURT OF THE UNITED STATES
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             ASHEVILLE DIVISION
                                  1:04CR117-11


UNITED STATES OF AMERICA,                             )
                                                      )
Vs.                                                   )               ORDER
                                                      )
PATRICK ALEXANDER LIPSCOMBE.                          )
                                                      )
                  Defendant.                          )
________________________________________              )


        THIS CAUSE coming on to be heard and being heard before the undersigned, Dennis L.

Howell, United States Magistrate Judge for the Western District of North Carolina, upon a violation

report filed in the above entitled cause on August 15, 2005. In the violation report the United States

Probation Office alleged that the defendant had violated terms and conditions of his pretrial release

alleging that the defendant had attempted to obstruct or tamper with the efficiency and accuracy of

any prohibited substance screening or testing and that the defendant had admitted that he had used

methamphetamine. Thereafter, a violation report was filed on September 2, 2005 alleging that the

defendant had violated the terms and conditions of his pretrial release and that he had committed an

offense in violation of Federal Law, that being the counterfeiting of United States Currency. At the

call of these matters on for hearing it appeared that the defendant was present with his counsel,

attorney Sean Devereaux, and that the Government was present through Assistant United States

Attorney, Corey Ellis. The defendant moved for a continuance of the hearing of the violation report

filed on September 2, 2005 based upon the fact that the defendant had not had sufficient time to

prepare for the hearing of the September addendum to the violation report. The defendant advised

that he was ready to go forward with the hearing of the allegations contained in the violation report



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of August 15, 2005 and from the evidence offered and from the statements of the Assistant United

States Attorney and the attorney for the defendant, and the records in this cause, the court makes the

following findings.

       Findings: At the call of the matter, the defendant, by and through his attorney, admitted the

allegations contained in the violation report filed on August 15, 2005. The Government introduced,

without objection, the violation report into evidence. The defendant was charged in a bill of

indictment filed December 6, 2004 with one count of conspiracy to manufacture and possess with

intent to distribute methamphetamine. A hearing was held in regard to detention of the defendant

on December 17, 2004. On that date, the undersigned entered an order releasing the defendant on

a $25,000.00 unsecured bond. The undersigned further set conditions of release which included the

following:

       (1)     That the defendant shall not commit any offense in violation of Federal, State or local

               law while on release in this case.

       (7)(m) Refrain from use or unlawful possession of a narcotic drug or other controlled

               substances defined in 21 U.S.C. § 802, unless prescribed by a licensed medical

               practitioner.

       (7)(n) The defendant shall submit to any method of testing required by the Office of

               Probation and Pretrial Services for determining whether the defendant is using a

               prohibited substance.

       (7)(p) The defendant shall refrain from obstructing or attempting to obstruct or tamper, in

               any fashion, with the efficiency and accuracy of any prohibited substance testing or

               electronic monitoring which is required as a condition of release.


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        On July 29, 2005, the defendant reported to the United States Probation Office Pretrial

Services Office. At that time he was requested to submit to a drug test. During the process of

attempting to obtain a sample of urine from the defendant, United States Probation Officer

discovered that the defendant had upon his person an apparatus by which he was attempting to

obstruct or tamper with the prohibited substance testing. At that time, the defendant admitted to

using methamphetamine on July 26, 2005.

        Discussion. 18 U.S.C. § 3148(b)(1) provides as follows: The judicial officer shall enter an

order of revocation and detention if, after a hearing, the judicial officer -----

        (1)     finds that there is----
                (A) probable cause to believe that the person has committed a
        Federal, State, or local crime while on release; or
                (B) clear and convincing evidence that the person has violated any
         other condition of release; and
        (2)     finds that ---
                (A) based on the factors set forth in section 3142(g) of this title, there
        is no condition or combination of conditions of release that will assure that the person will
        not flee or pose a danger to the safety of any other person or the community; or
                (B) the person is unlikely to abide by any condition or combination
        of conditions of release.

        If there is probable cause to believe that, while on release, the person committed a
        Federal, State, or local felony, a rebuttable presumption arises that no condition
        or combination of conditions will assure that the person will not pose a danger to
        the safety of any other person or the community.”


        Based upon the evidence, the undersigned finds that there is also probable cause to believe

that the defendant committed a Federal or State crime while on release. The defendant admitted that

he had consumed methamphetamine. The consumption of methamphetamine is a misdemeanor

under Federal law, 21 U.S.C. § 844 and is a felony under State law, N.C.G.S. § 90-95(a)(3). Due

to the fact that there is probable cause to believe that the defendant committed a State felony, a


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rebuttable presumption arises, pursuant to 18 U.S.C. § 3148, that no condition or combination of

conditions would assure that the defendant would not pose a danger to the safety of any other person

or the community.

           There has further been shown by clear and convincing evidence that the defendant violated

other conditions of release in that it has been shown by clear and convincing evidence that the

defendant violated the term and condition that states that he shall not commit any offense in violation

of Federal, State or local law while on release in regard to this case. The possession and

consumption of methamphetamine are violations of Federal and State law. The defendant further

violated the terms and conditions of his pretrial release in that he was ordered to refrain from use or

unlawful possession of a narcotic drug unless it was prescribed by a licensed medical practitioner.

The defendant has clearly violated this condition by possessing and using methamphetamine which

is a drug which is not prescribed by licensed medical practitioners. The defendant further violated

the terms and conditions of pretrial release that required him to submit to any method of testing

required by the Office of Probation and Pretrial Services for determining whether he was using a

prohibited substance and that he refrain from obstructing or attempting to obstruct or tamper in any

fashion with the efficiency and accuracy of any prohibited substance testing in that he attempted to

use a devise which would materially affect the efficiency and accuracy of any prohibited substance

testing.

           Due to the findings made above and further considering the presumption that has been

created and also considering the factors as set forth under 18 U.S.C. § 3142(g), it appears there is

no condition or combination of conditions of release that will assure that the defendant will not pose

a danger to the safety of any other person or the community. It is the opinion of the undersigned that


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based upon the defendant’s actions, that it is unlikely that the defendant will abide by any condition

or combination of conditions of release. As a result of the above referenced findings, the

undersigned has determined to enter an order of revocation revoking the unsecured bond and the

terms of pretrial release previously issued in this matter and entering an order detaining the

defendant.

        In regard to the addendum to the violation report filed on September 2, being filed only one

business day before the scheduled hearing in this matter, the undersigned finds that it would be in

the interest of justice to continue the hearing of that allegation to give sufficient time to prepare for

that hearing.

        IT IS THEREFORE ORDERED that the unsecured bond and the terms and conditions of

pretrial release entered in this matter are hereby REVOKED pursuant to the defendant’s admission

of his violations as contained in the violation report filed August 15, 2005 and it is ORDERED that

the defendant be detained pending sentencing and further proceedings in this matter. It is further

ORDERED that the hearing of the violations contained in the violation report filed September 2,

2005 are hereby CONTINUED to be rescheduled by the Clerk of the Federal Court.




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                   Signed: September 12, 2005




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